tm.
- ® Case 2:06-cv-04795-CAS-JWJ Document 23 Filed 09/05/06 Page 1of1 Page ID#:8

SEND

CLERK, U'S. DISTRICT COURT

 

Wy
Ls

 

 

SEP ~ 5 2008 2

t_______ =
UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CAL BAND ‘|
CENTRAL DISTRICT OF CALIFORNIA (vy EPUTY

 

 

Ricky Ritch, an individual and CASE NUMBER
Donna Ritch, an individual,
PLAINTIFF(S) CV 06-4795 GPS (JWIx)

Vv.

 

ORDER TO REASSIGN CASE DUE TO
SELF-RECUSAL PURSUANT TO
SECTION 3.2 OF GENERAL ORDER 224

Aviva Bobb, an individual, William
MacLaughlin, an individual, et al.,

 

DEFENDANT(S).

 

The undersigned Judge, to whom the above-entitled case was assigned, is hereby of the opinion that he
or she should not preside over said case, by reason of (please use additional sheets if necessary):

Asa Superior Court Judge, I worked with many of the named defendants in the above-referenced
matter. Therefore, it would be inappropriate for me to preside over this matter.

IT IS HEREBY ORDERED that this case be reassigned by the Clerk in accordance with Section 3.2 of
General Order 224.

This self-recusal has been Ordered:
Of within 120 days of the Court being assigned said case.
D after 120 days of the Court being assigned sai

d case.
September 1, 2006 Whlaarel

Date United States District Judge

 

NOTICE TO COUNSEL FROM CLERK
This case has been reassigned to Judge S. James Otena . On all documents
subsequently filed in this case, please substitute the initials Sj0 after the case number in
place of the initials of the prior Judge so that the case number will read: __¢y 94-4795 SJd [Jwiy)

This is very important because documents are routed to the assigned Judge by means of the initials.

The case file, under seal documents, exhibits, docket, transcripts or depositions may be viewed at the:
{J Western O Southern O Eastern Division.

Subsequent documents must be filed at the [ Western O Southern O Eastern Division.
Failure to file at the proper location will result in your documents being returned to you. (2

93
__—

 

CV-52 (07/05) ORDER TO REASSIGN CASE DUE TO SELF-RECUSAL PURSUANT TO SECTION 3,2 OF GENERAL ORDER 224

ENTERED ON CM 416(2¢
